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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                         Case No. 14-22621-Civ-COOKE/TORRES

 RODRIGO SALTON MATTEVI,

        Plaintiff,

 vs.

 LINDA SWACINA, District Director, USCIA,
 Miami; UNITED STATES CITIZENSHIP &
 IMMIGRATION SERVICES, MIAMI DISTRICT,

       Defendants.
 _____________________________________________/
                             ORDER REQUIRING RESPONSE
        This matter is before me on the Plaintiff’s Request for Hearing Before District Court
 and Complaint for Mandamus (ECF No. 1). Plaintiff alleges that his INS Form N-400,
 Application for Naturalization, has been pending before the United States Citizenship and
 Immigration Services for more than 120 days, without a decision. To efficiently,
 expeditiously, and economically resolve this dispute, it is ORDERED that, within sixty (60)
 days of this Order, the Defendants shall file their Response to the Request stating why the
 relief sought should not be granted.
        DONE and ORDERED in chambers at Miami, Florida, this 18th day of July 2014.




 Copies furnished to:
 Edwin G. Torres, U.S. Magistrate Judge
 Counsel of record
